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UNtTED STATES DISTRICT CoURT
WESTERN DlsTRtCT oF NEw YoRK
BARTHOLOMEW A. RosELLl,

 

 

CoMPLAlNT
PLA INTIFF, AND
DEMAND FOR JURY TRIAL
v.
ClvlL ACTtoN
SENECA FARK Zoo Soclt~:'rY, INC.
DEFENDAN£ NO.
.NM_O_._MCT|OE
l. Bartholomew A. Roselli (“Plaintiff”) brings this action to vindicate his rights under

the Age Discrimination in Ernployrnent Act, 29 U.S.C. §621 et seq. (hereinafter “ADEA”) and
New York Human Rights Law` Executive Law §290 er seq. (hereinafter "NYSHRL“).
JL:RISDICTloN ANt) VENuE

2. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331, 28 U.S.C.
§1343 (3) and (4) conferring original jurisdiction upon this Court of any civil action to recover
damages or to secure equitable relief under any Act of Congress providing for the protection of
civil rights; under 28 U.S.C. § 1337 conferring jurisdiction of any civil action arising under any
Act of Congress regulating interstate commerce; and under the Declaratory Judgrnent Statute. 28
U.S.C. § 2201.

3. This Court‘s supplemental jurisdiction of claims arising under NYSHRL is also
invoked, pursuant to 28 U.S.C. § 1367.

4. Venue is appropriate in the Western District of New York since the allegations

arose in this district and defendant conducts business in this district

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PARTIES
A. DEFENDANT
5. Defendant Seneca Park Zoo Society, Inc. (“Defendant”) is a New York Not~For-
Proftt Corporation and has its principal place of business at 2222 Saint Paul Boulevard,
Rochester, New York, 14621.
6. Defendant supports and promotes the Seneca Park Zoo by waiting educational

programs, special events, marketing and public relations efforts. fundraising and l"ood and gift

operations
B. PLA|NTtFF
7. At all times relevant Plaintiff was an employee of Defendant within the meaning of
the ADEA and NYSHRL.
FACTUAL ALLl-:GATIONS
8. Plaintiff was born on November 5, 1953.
9. Plaintiff has dedicated his entire 38-year professional career to the field of

interpretation which involves the way information is communicated to visitors of museums and
cultural institutions to facilitate an educational and enjoyable experience To this day Plaintiff
continues to provide community and professional service as well as publications and presentations
in the field of interpretation

lO. Plaintiff began his employment with Defendant in 2009 as a Director of Education
& Interpretation which involved serving as a public-facing leader of public programs and exhibits
as the Seneca Park Zoo and managing about 25 people.

l 1. Mr. Roselli was Defendant’s oldest Director by approximately 8 years.

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Mr. Roselli ’s Sol:'d Job Per_'formance

12. Throughout his eight years of employment with Defendant, Plaintiff was given
solid performance evaluations For example, Mr. Roselli received the following comments from
the Defendant in his performance evaluations for the following years:

o 2009 -- “It has been a pleasure to get to know Bart during 2009. I-Ie is a
real asset to the Zoo and as his understanding of the Zoo world increases
and his ability to bone in on the natural abilities of his staff, we will
continue to see great programs and interpretives comes of out of the Ed
department - all led Bart! [sic] Thank you for joining our teaml”

0 2010 -- “It has been a pleasure to work with Bart during 2010. He continues
to be a real asset to the Zoo and he has better a grasp of what are the
strengths and weaknesses of this facility. Thank you for being part of the
team! Bart will receive a 3% raise for his work accomplished in 2010.”

¢ 201 1 -- “However_. Bart is a treasured member of our team ~ he has a good
work ethic, brings many new ideas and partners to the Zoo and the Af`rican
exhibit will be an incredible experience in part due to his guidance and
effort.”

¢ 2012 -- “Bart is very enthusiastic and willing to listen to new ideas from
outside colleagues and other staff. He wants to elevate their level of
understanding about educating visitors in this facility which is great in the
long terrn. Overall, the education department exceeded their financial goals
for 2012, which shows me that Bart has made that a priority. I-Iaving a new
exhibit certainly helped all departments with their financial goals as well.”

o 2013 -- “With Bart taking the time management course last spring and
being more focused on his staffs’ achievements or lack thereof. l have seen
improvements in his overall effectiveness as a Director, I still think he
needs to stay on top of the projects that he has prioritized but great strides
have been made. He is a true asset to the Zoo for he brings seasoned
perspectives of NFP management and is willing to continuously review
issues from a different perspective That balance is in the Directors
decision making is very important Bart will receive a 3% raise for 2013
and he received a $2,000 bonus for work done in 2013.”

o 2014 -- “I think Bart can be creative when problems arise_, suggesting
solutions rather than simply presenting the problem to me and looking for
me to solve it. Very helpful.” Mr. Roselli received a 3% raise in 2014.

o 2015 -- Mr. Roselli receives a 2.5% raise and received a majority marks

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close to “meeting expectations".

o 2016 -- Mr. Roselli receives a 1.5% raise and received a majority of
“meeting expectations” on his evaluation

13. Like any employee Defendant identified areas of improvement for Mr. Roselli but
on balance his experienced contributions far outweighed his shortcomings

Defendant’s Discriminatory Activities

14. Mr. Roselli started to experience discriminatory activities, specifically based on his
age under the Defendant’s new leadership of Executive Director Ms. Pamela Reed-Sanchez.

15. Ms. Reed-Sanchez tolerated Defendant’s employees including Charles Levengood.
the Director of Development and Tom Snyder making fun of Mr. Roselli because of his age. For
example, Mr. Roselli was called the “old man” at multiple leadership meetings Ms. Reed-Sanchez
tolerated these ageist comments lodged against Mr. Roselli even after he expressed that he was
hurt by these discriminatory comments Mr. Roselli would respond in the meetings by saying
“ouch, that hurt” but tolerated being called the “old man” because he did not want to be retaliated
against by Ms. Reed-Sanchez given she favored younger people.

16. Moreover, Mr. Roselli recalls Ms. Reed-Sanchez asking him when he would retire.
At the time Mr. Roselli was concerned because he remembered his older coworker Karen Panosian
was forced to retire by Ms. Reed-Sanchez well before she was ready to retire.

17. In 2015, Ms. Reed-Sanchez demoted Plaintiff and stripped him of his interpretation
responsibilities Plaintiff`s new title was to be Director of Education & Visitor Studies and he
would now be responsible for leading curriculum-based programs, volunteer management and
visitor research and evaluation

18. Def`endant specifically Ms. Reed-Sanchez decided that Mr. Roselli’s interpretation

responsibilities would be given to another younger employee Specifically, Mr. Roselli’s

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interpretation duties were transferred to Tom Snyder who Was in his 305 and did not have the
requisite education, background or experience and was unqualified to fulfill the Director’s
interpretation duties. Defendant created a new position for Tom Snyder called Director of
Programrning and Conservation Action. v

19. Thereafter, Tom Snyder was allowed with Ms. Reed-Sanchez’s permission to
openly ridicule Mr. Roselli based on the misconception that Mr. Roselli was not adept with
technology due to his age. Mr. Roselli requested training for the new staff management software
from Ms. Reed-Sanchez to get up to speed but was told tojust teach himself or go on-line. While
Mr. Snyder was frequently permitted by Ms. Reed-Sanchez to spend significant time with local
software and technology companies to familiarize with the latest technological advances

20. On July 24, 2017, Ms. Reed-Sanchez; emailed Mr. Roselli a three-page list of
alleged deficiencies in his performance and gave him a 48-hour ultimatum to either agree to leave
his employment within 60 days but publicly lie and say he decided to retire or resign or to be
terminated immediatelyl

21. The performance issues identified by Ms. Reed-Sanchez were grossly inaccurate
and based on Mr. Roselli’s experience were not terminable offenses For instance Ms. Reed-
Sanchez cited Mr. Roselli for failing to notify his colleagues and staff that he was taking a vacation
Yet, Defendant’s own emails Wouid clearly demonstrate that Mr. Roselli emailed his team the
details of his time away from work for a family vacation and requested that they contact him if
needed.

22. Moreover, Mr. Roselli was surprised to receive this memo for Ms. Reed-Sanchez
for two reasons First, most of the performance issues identified in the memo had never previously

been brought to his attention Second, he received the memo on his first day back from vacation.

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lndeed, Ms. Reed-Sanchez told him after delivering the memo “I bet you weren’t expecting this
your first day back from vacation."

Defendant Retaliates Agar'.nsr Mr. Rase£lr'

23. Mr. Roselli responded via email to Ms. Reed-Sanchez’s ultimatum that he believed
that he was being discriminated against because of his age and requested that Defendant conduct
an investigation

24. Ms. Reed-Sanchez responded by having Mr. Roselli walked out of the facility the
very same day. As he was being walked out, Mr. Roselli asked Ms. Reed-Sanchez why she was
doing this and she responded only “You gave me no choice”.

25. Defendant ignored its own internal policies and practices in terminating Mr.
Roselli. As an experienced director-level manager Mr. Roselli was fully familiar with and
informed of these practices which called for underperforming staff to be first issued verbal and
written and if no improvements are seen then a Performance Improvernent Plan (PIP) would be
drafted and presented to the staff person in question Here, Mr. Roselli never received a PlP.

26. Since Mr. Roselli was demoted in 2015 and Mr. Snyder took over his interpretation
duties there have been a major increase in complaints and missed appointments due to Mr.
Snyder’s inexperience and inattention. Speciftcally, Defendant’s adult programs, on-site
interpreters. zoo mobile and butterf`ly gardens are severely lagging in revenue as compared to when
they were under Mr. Roselli’s direction. Further, Mr. Snyder’s Center for Biodiversity Exploration
- proposed interactive video game installation ~ was more than 12 months late. lndeed, leaders at
the Seneca Park Zoo have publicly stated that he is “"... the poorest project manager I have ever
worked with.” However_. Mr. Snyder has not been subject to discipline or termination

27. Several weeks alter his termination, Defendant briefly met with Mr. Roselli to

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discuss his age discrimination complaint but ultimately took no remedial action Rather Defendant
proceeded to replace Mr. Roselli with a significantly younger employee

28. Defendant terminated Mr. Roselli because of his age and/or in retaliation that he
complained of age discrimination

29. Due to the willful conduct of the Defendant, Plaintiff has lost his employment has
lost pay and other benefits and has suffered great emotional distress

30. Defendant discriminated against Mr. Roselli on the basis of his age with regard to
his termination and the terms. conditions and privileges of employment

Division Issues Probable Crmse Determination

31. Thereafter, Plaintiff filed a charge of discrimination and retaliaton with the New
York State Division of Human Rights (“Division") and the United States Equal Employment
Opportunity Comrnission (“EEOC") on or about August 18, 2017.

32. Defendant responded to Mr. Roselli’s complaint by submitting a robust response
including extensive exhibits

33. Despite Defendant"s voluminous response, on February 5, 2018, the Division
issued it Determination Af`ter lnvestigation finding Probable Cause Existed that Defendant
engaged in unlawful age discrimination and retaliation The Division’s basis for the probable cause
determination relied upon the following:

o Whether Mr. Roselli was afforded the same opportunity to
improve his performance as a younger colleague because of
his age.

o Whether Defendant took prompt and effective action to
address Mr. Roselli’s age discrimination complaint

¢ Whether Mr. Roselli’s age was a factor in Defendant’s
decision to terminate his employment

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34. On June 25, 2018 the EEOC mailed Mr. Roselli a notice of right to sue, informing

Mr. Roselli could file a complaint in federal court to redress the violations of his rights
FiRsT CAUSE oF AcTroN
Age Discrimina!ion Employment Act - Age Discrimination

35. Plaintiff realleges the above paragraphs as if fully restated herein

36. Through Defendant’s action and inactions described above Defendant violated its
obligations under the ADEA, and is liable to plaintiff

SECOND CAusE OF ACTloN
Retaliation in Vr'olation ange Discriminarian in Emp!oyment Act

37. Plaintiff realleges the above paragraphs as if fully restated herein.

38. The ADEA prohibits retaliation against employee for complaining about age
discrimination Plaintiff engage in protected activity under the ADEA by complaining about his
treatment at work, Plaintiff was terminated in retaliation for his complaint

Timu) CAusE oF ACTloN
New York State Hum.an Rights Law - Age Discrr'minatt'on

39. Plaintiff realleges the above paragraphs as if fully restated herein.

40. Defendant through its agents engage in a pattem of unlawful age discrimination
and failed to take remedial action with regards to Plaintiff`s complaint of discrimination by
singling out Plaintiff in regards to his job performance, when in fact Plaintiff’s job performance
Was satisfactory or better than those employees who were substantially younger than Plaintiff, and
eventually terminating Plaintiff in violation of the New York State Human Rights Law_, Executive

Law §290 et seq.

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FOURTH CAUsE oF ACTloN
Retaliarion under New York State Human Rr`ghrs Law §290 et seq.

41. Plaintiff realleges the above paragraphs as if fully restated herein.

42. The NYHRL prohibits retaliation against employee for complaining about age
discrimination Plaintiff engaged in protected activity under the NYHRL by complaining about his
treatment at work, Plaintiff was terminated in retaliation for his complaint

WHEREFORE, Plaintiff requests the following relief:

l (a) A declaration that Defendant’s conduct complained of herein violated his rights as
secured by the ADEA and NYHRL.

(b) A permanent injunction to Defendant its officers. management personnel1
employees, agents, attorneys successors and assigns and those acting in concert
therewith from any retaliatory conduct violating any of Plaintiff s rights as secured
by ADEA and NYHRL.

(c) Equitable relief of all back pay and benefits up to the date of reinstatement

(d) Reinstatement of the Plaintiff to employment with Defendant or, in the alternative
an award to the Plaintiff of front pay, including all the compensation and value of
the benefits of employment that he would have been entitled to had he not been
terminated, for a period of time after judgment that the Court deemsjust and proper.

(e) An award of compensatory damages for future pecuniary losses, emotional pain,
suffering, inconvenience mental anguish, loss of enjoyment of life, and other
nonpecuniary losses under the ADEA and NYHRL.

(f) An award of punitive damages

(g) An award of liquidated damages

(h) An award of pre-judgment interest

(i) All costs, expenses disbursements expert witnesses feed and attorney’s fee in
prosecuting the action.

(_i) An award of any and all other economic loss

(k) Such other relief as this Court may deem just and proper.

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Juav DEMAND

Plaintiff demands ajury to hear and decide all issues of fact

Dated: September ll, 2018

CORDELLO LAW PLLC

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